                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 ADVANTAGE WAYPOINT, LLC,                        )
                                                 )
          Plaintiff,                             )
                                                 )
 v.                                              )
                                                 )
 MICHAEL BAKER,                                  )
                                                 )     No. 3:17-cv-01053
          Defendant                              )     CHIEF JUDGE CRENSHAW
                                                 )
 MICHAEL BAKER,                                  )
                                                 )
          Counter-Plaintiff,                     )
                                                 )
 v.                                              )
                                                 )
 ADVANTAGE WAYPOINT, LLC,                        )
                                                 )
          Counter-Defendant,                     )
                                                 )
 MICHAEL BAKER,                                  )
                                                 )
          Third-Party Plaintiff,                 )
                                                 )
 v.                                              )
                                                 )
 DON DAVIS,                                      )
                                                 )
          Third-Party Defendant.                 )


                                               ORDER
         The Joint Motion for Dismissal with Prejudice and for the Court to Retain Jurisdiction

(Doc. No. 83) is GRANTED. Accordingly, this action is DISMISSED WITH PREJUDICE,

and the Clerk is directed to close the file.




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   IT IS SO ORDERED.



                                 ____________________________________
                                 WAVERLY D. CRENSHAW, JR.
                                 CHIEF UNITED STATES DISTRICT JUDGE




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